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 6    MYRNA E. BAUM
 7
                            UNITED STATES DISTRICT COURT
 8
                          CENTRAL DISTRICT OF CALIFORNIA
 9

10                                                       Case No.: 2:13-cv-00185-SJO-MAN
      MYRNA E. BAUM, an individual,
11                  Plaintiff,                           ORDER GRANTING
                                                         STIPULATION OF DISMISSAL
12            vs.                                        WITH PREJUDICE BETWEEN
                                                         PLAINTIFF AND DEFENDANTS
13

14
      BUREAU OF COLLECTION
      RECOVERY, LLC., a limited liability
      company; and DOES 1 to 10, inclusive,
15
                    Defendants.
16
              PURSUANT TO STIPULATION, IT IS SO ORDERED that all claims of
17
      Plaintiff MYRNA E. BAUM against Defendants, BUREAU OF COLLECTION
18
      RECOVERY, LLC; and DOES 1 through 10, inclusive are dismissed, with
19
      prejudice. Plaintiff MYRNA E. BAUM and Defendant BUREAU OF
20
      COLLECTION RECOVERY, LLC shall each bear their own costs and attorneys’
21
      fees.
22
      IT IS SO ORDERED.
23
      DATED:____9/30/13______                    ___________________________________
24
                                                   District Court Judge
25                                                 Central District of California



                                                       -1-
                                 Stipulation and [Proposed] Order of Dismissal
